IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

ALEXANDRIA DIVISION
Juul Labs, Inc., )
)
Plaintiff, )
Vv. )CIVIL ACTION NO. 1:18cv1207-LO-IDD
)
The Unincorporated Associations Identified )
in Schedule A, )
Defendants. )
DEFAULT JUDGMENT

A default having been entered against the defendants and counsel for the plaintiff having
requested judgment against the defaulted defendants and having filed a proper declaration, all in
accordance with Rule 55 of the Federal Rules of Civil Procedure; it is

ORDERED and ADJUDGED that the plaintiff, Juul Labs, Inc. recover of the defendants,
The Unincorporated Associations Identified in Schedule A, the sum of 4,000,000.00 per
defendant.

It is further ORDERED that:

(1) Defendants are permanently enjoined from making, using, selling, or offering for
sale unauthorized products containing the Juul Labs Trademarks;

(2) PayPal, Inc. shall release to Plaintiff the monies currently restrained in Defendants’
financial accounts as partial payment of the above-identified damages within five (5) business days
of the date of this Order;

(3) AliPay, US, Inc. and/or Ant Financial Services Group shall release to Plaintiff the monies
currently restrained in Defendants’ financial accounts as partial payment of the above-identified
damages within five (5) business days of the date of this Order;

(4) Until Plaintiff has recovered full payments of the monies owed to it by any Defendants,
Plaintiff shall have ongoing authority to serve this Order on PayPal or AliPay in the event that any
new PayPal or AliPay accounts controlled by or operated by Defendants are identified. Upon receipt
of the Order, PayPal and AliPay shall within two (2) business days (a) locate all accounts and funds
connected to Defendants or Defendants’ internet stores, and (b) restrain and enjoin such accounts or
funds that are not U.S. based from transferring or disposing of any money or other Defendants’
assets; and within ten (10) business days (c) release all monies restrained in Defendants’ Pay Pal and
AliPay accounts to Plaintiff as partial payment of the above-identified damages.

Dated at Alexandria, Virginia, this 5" day of April, 2019.

FERNANDO GALINDO
CLERK OF COURT

BY: /s/
Deputy Clerk
Appendix A

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